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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION
ELIZABETH NELSON, et. al.,

      Plaintiffs,                                 Case No. 22-cv-10918
v.                                                Hon. Matthew F. Leitman

SERVICE TOWING INC., et al.,

     Defendants.
__________________________________________________________________/

  ORDER (1) OVERRULING PLAINTIFFS’ OBJECTIONS (ECF No. 55)
  TO COMBINED ORDER AND REPORT AND RECOMMENDATION
     (ECF NO. 54); (2) ADOPTING DISPOSITION RECOMMENED
 BY MAGISTRATE JUDGE ON DISPOSITIVE MOTIONS; (3) DENYING
   MOTIONS (ECF Nos. 21, 23, and 38) WITHOUT PREJUDICE; and
      TERMINATING CERATAIN DEFENDANTS FROM ACTION

      On January 25, 2023, Magistrate Judge Anthony Patti entered a combined

Order and Report and Recommendation (the “R & R”). (See ECF No. 54.) Plaintiffs

have now filed Objections to the R & R. (See ECF No. 55.) The Court has carefully

reviewed the Objections but cannot understand any points/arguments that Plaintiffs

may be making. Accordingly, Plaintiffs have failed to persuade the Court that

Magistrate Judge Patti erred in any way. The Objections are OVERRULED, and

the recommended disposition of the R&R is ADOPTED.

      IT IS FURTHER ORDERED that the following motions are DENIED

WITHOUT PREJUDICE: Defendants State of Michigan, Michigan Department

of State’s Motion to Dismiss (ECF No. 21), Defendants City of Warren, James

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Fouts, James Cummins, Gus Ghanam, Robert Scott, and William Dwyer’s Motion

to Dismiss (ECF No. 23), and Defendants Curtis Gauss, Mary Michaels, William

Reichling, and William Dwyer’s Motion to Dismiss (ECF No. 38). The following

Defendants are TERMINATED WITHOUT PREJUDICE: Curtis Gauss, James

Cummins, Gus Ghanam, William Reichling, William Dwyer, and Mary Michaels.

      IT IS SO ORDERED.

                                     s/Matthew F. Leitman
                                     MATTHEW F. LEITMAN
                                     UNITED STATES DISTRICT JUDGE

Dated: February 13, 2023


I hereby certify that a copy of the foregoing document was served upon the parties
and/or counsel of record on February 13, 2023, by electronic means and/or ordinary
mail.

                                     s/Holly A. Ryan
                                     Case Manager
                                     (313) 234-5126




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